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VOTER REGISTRATION AND MAIL-IN VOTING
Who is Eligible to Vote in Delaware?

    •    Must be a US Citizen
    •    18 years on or before the date of the election
    •    Be a resident of Delaware

Who is Not Eligible to Vote in Delaware?

•   Must not have been adjudged mentally incompetent
•   Convicted of a felony and have not completed your sentence
•   Convicted of a disqualifying felony and have not been pardoned
    • Disqualifying Felonies are as follows:
            o Murder or Manslaughter (except Vehicular Homicide)
            o Any felony constituting an offense against public
                 administration involving bribery or improper influence or
                 abuse or office, or any like offense under the laws of any state
                 or local jurisdiction, or of the United State or District of
                 Columbia
            o Any felony constituting a sexual offense or any like offense under the laws of any state, local
                 jurisdiction, or the United States, or the District of Columbia

Mailing an Application

    •    Applications to register to vote and to request a mail-in ballot are on the tier. If one is not available,
         please contact your counselor.
    •    You will need either the last four digits of your Social Security number or your Driver’s License/State ID#
         on the application. You may need to include a copy of your DOC Prison ID. You can obtain a photocopy
         by contacting your counselor.
    •    Use the address that is listed on your Driver’s License or State ID as your permanent address. If you do
         not have either, then the prison’s address should be used.
    •    Use the prison as your mailing address. **JTVCC--Do NOT use the Pigeonly address.**
    •    You MUST include your SBI# next to your last name on the application to receive return mail from the
         Department of Elections.
                                                   Deadlines
           Primary Election: September 13th                           General Election: November 8th

          *Deadline to Register: August 20th                        *Deadline to Register: October 15th
    *Deadline to Request Ballot: September 9th                  *Deadline to Request Ballot: November 4th

*Allow additional time for mailing. To ensure your requests are received in time, complete and mail
as soon as possible. Deadlines may change.

                                        Election Office Addresses
Kent County                         New Castle County                             Sussex County
PO BOX 699                          PO BOX 7079                                   PO BOX 457
Dover, DE 19903-0699                Wilmington, DE 19803-0079                     Georgetown, DE 19947-0457
Mail application to county
    If you have any questions about the process, please contact your DOC Counselor.
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Voter Registration and Absentee Voting Information for 2022
Primary Election Day is September 13, 2022 and General Election Day is November 8, 2022

Steps to Registering to Vote and Voting in Delaware:
   1) Complete a Voter Registration Application to register to vote (on tier)
   2) Fill out a Request for an Absentee Ballot form (on tier)
   3) Mail your completed Voter Registration Application and your completed Request for an Absentee Ballot form to your County
      Department of Elections (“DOE”) Office as soon as possible.
   4) Once the DOE receives your Voter Registration Application, it will determine if you are eligible to register and vote.
   5) If you are eligible, the DOE will process your voter registration and the DOE will mail you an absentee ballot.
   6) As soon as you receive your absentee ballot, follow the instructions and vote your absentee ballot.
   7) Return your completed absentee ballot as soon as possible in the provided postage-paid envelope. Absentee ballots must be
      at the Department of Elections Office for your county by 8PM on Election Day in order to count.

          Please see the detailed information below. If you have any questions about the process, you may contact the
                                     Department of Elections free of charge at 302-735-3770.

You may register to vote in Delaware if you:

   •   Are a citizen of the United States; AND
   •   Are a resident of Delaware (Delaware is your home); AND
   •   Will be 18 years old on or before the date of the next General Election (November 8, 2022)
You may not register to vote in Delaware if you:

   •   Have been adjudged mentally incompetent. Adjudged mentally incompetent refers to a specific finding in a judicial
       guardianship or equivalent proceeding, based on clear and convincing evidence that the individual has a severe cognitive
       impairment which precludes exercise of basic voting judgment; OR
   •   Were convicted of a felony and have not fully discharged your sentence*; OR
   •   Were convicted of a disqualifying felony** and have not been pardoned.
       *Payment of any fees, fines, costs, or restitution which a felony offender may be required to pay as part of the criminal
       sanctions imposed on such offender is NOT considered in determining discharge of sentence for purposes of eligibility to
       register to vote.
       **List of Disqualifying Felonies:
           o Murder or Manslaughter (except Vehicular Homicide); OR
           o Any felony constituting an offense against public administration involving bribery or improper influence or abuse of
               office, or any like offense under the laws of any state or local jurisdiction, or of the United States, or of the District of
               Columbia; OR
           o Any felony constituting a sexual offense, or any like offense under the laws of any state or local jurisdiction, or of the
               United States, or of the District of Columbia.
Mailing Applications

   •   Applications to register to vote and to request an absentee ballot are available on the tier. If one is not available, please
       contact your DOC Counselor.
   •   You will need either the last four digits of your Social Security number or your Driver’s License/State ID# on the Voter
       Registration Application.
   •   If this is your 1st time registering to vote, you need to include a copy of your DOC Prison ID. You can obtain a photocopy by
       contacting your DOC Counselor.
   •   Use the address that is listed on your Driver’s License or State ID as your current/home address. If you do not have either,
       then the prison’s address should be used.
   •   Use the prison as your mailing address/address where you want ballot sent. **JTVCC--Do NOT use the Pigeonly address.**
   •   You MUST include your SBI# next to your last name on the Voter Registration Application and the Request for an Absentee
       Ballot form to receive return mail from the Department of Elections.

                                        2022 Election Dates and Registration Deadlines
                            Primary Election: September 13th                    General Election: November 8th
                        *Deadline to Request Absentee Ballots:              *Deadline to Request Absentee Ballots:
                                    September 9th                                       November 4th
  *Allow additional time for mailing. To ensure your absentee ballot requests are received in time, complete and mail as soon as possible.

                         Mail voter registration applications and absentee ballot request forms
                         to your county Department of Elections Office at the address below:

Kent County                           New Castle County                               Sussex County
PO BOX 699                            PO BOX 7079                                     PO BOX 457
Dover, DE 19903-0699                  Wilmington, DE 19803-0079                       Georgetown, DE 19947-0457
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Voter Registration and Absentee Voting Information for 2022
Primary Election Day is September 13, 2022 and General Election Day is November 8, 2022

Steps to Registering to Vote and Voting in Delaware:
   1) Complete a Voter Registration Application to register to vote (on tier)
   2) Fill out a Request for an Absentee Ballot form (on tier)
   3) Mail your completed Voter Registration Application and your completed Request for an Absentee Ballot form to your County
      Department of Elections (“DOE”) Office as soon as possible.
   4) Once the DOE receives your Voter Registration Application, it will determine if you are eligible to register and vote.
   5) If you are eligible, the DOE will process your voter registration and the DOE will mail you an absentee ballot.
   6) As soon as you receive your absentee ballot, follow the instructions and vote your absentee ballot.
   7) Return your completed absentee ballot as soon as possible in the provided postage-paid envelope. Absentee ballots must be
      at the Department of Elections Office for your county by 8PM on Election Day in order to count.

          Please see the detailed information below. If you have any questions about the process, you may contact the
                                     Department of Elections free of charge at 302-735-3770.

                                                                                                                        **UPDATE**
You may register to vote in Delaware if you:
                                                                                                                 Deadline to register to vote
   •   Are a citizen of the United States; AND                                                                    for the November 8, 2022
                                                                                                              General Election is NOW Saturday,
   •   Are a resident of Delaware (Delaware is your home); AND
                                                                                                                       October 15, 2022
   •   Will be 18 years old on or before the date of the next General Election (November 8, 2022)
You may not register to vote in Delaware if you:

   •   Have been adjudged mentally incompetent. Adjudged mentally incompetent refers to a specific finding in a judicial
       guardianship or equivalent proceeding, based on clear and convincing evidence that the individual has a severe cognitive
       impairment which precludes exercise of basic voting judgment; OR
   •   Were convicted of a felony and have not fully discharged your sentence*; OR
   •   Were convicted of a disqualifying felony** and have not been pardoned.
       *Payment of any fees, fines, costs, or restitution which a felony offender may be required to pay as part of the criminal
       sanctions imposed on such offender is NOT considered in determining discharge of sentence for purposes of eligibility to
       register to vote.
       **List of Disqualifying Felonies:
           o Murder or Manslaughter (except Vehicular Homicide); OR
           o Any felony constituting an offense against public administration involving bribery or improper influence or abuse of
               office, or any like offense under the laws of any state or local jurisdiction, or of the United States, or of the District of
               Columbia; OR
           o Any felony constituting a sexual offense, or any like offense under the laws of any state or local jurisdiction, or of the
               United States, or of the District of Columbia.
Mailing Applications

   •   Applications to register to vote and to request an absentee ballot are available on the tier. If one is not available, please
       contact your DOC Counselor.
   •   You will need either the last four digits of your Social Security number or your Driver’s License/State ID# on the Voter
       Registration Application.
   •   If this is your 1st time registering to vote, you need to include a copy of your DOC Prison ID. You can obtain a photocopy by
       contacting your DOC Counselor.
   •   Use the address that is listed on your Driver’s License or State ID as your current/home address. If you do not have either,
       then the prison’s address should be used.
   •   Use the prison as your mailing address/address where you want ballot sent. **JTVCC--Do NOT use the Pigeonly address.**
   •   You MUST include your SBI# next to your last name on the Voter Registration Application and the Request for an Absentee
       Ballot form to receive return mail from the Department of Elections.

                                        2022 Election Dates and Registration Deadlines
                            Primary Election: September 13th                    General Election: November 8th
                        *Deadline to Request Absentee Ballots:              *Deadline to Request Absentee Ballots:
                                    September 9th                                       November 4th
  *Allow additional time for mailing. To ensure your absentee ballot requests are received in time, complete and mail as soon as possible.

                         Mail voter registration applications and absentee ballot request forms
                         to your county Department of Elections Office at the address below:

Kent County                           New Castle County                               Sussex County
PO BOX 699                            PO BOX 7079                                     PO BOX 457
Dover, DE 19903-0699                  Wilmington, DE 19803-0079                       Georgetown, DE 19947-0457
